               Case 3:07-cr-05042-RBL          Document 90       Filed 09/07/07      Page 1 of 1



 1
 2
 3
 4
 5
 6
 7
 8                                      UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF WASHINGTON
 9                                               AT TACOMA
10
11     UNITED STATES OF AMERICA,
12                                                        Case No. CR07-5042RBL
                                Plaintiff,
13                      v.                                ORDER DENYING MOTION TO
14                                                        MODIFY TERMS AND CONDITIONS
       IBRAHIM JOZIN,                                     OF RELEASE
15                              Defendant.
16
17           This matter comes before the court on the motion of the Defendant to modify terms and conditions
18   of release. (Dkt. #84). The Court has reviewed the documents filed on behalf of the Defendant as well as
19   those filed by the Plaintiff (Dkt. #89) in opposition of the Defendant’s motion. This court finds that the
20   Defendant has failed to present sufficient information that would overcome the concerns set forth in the
21   Detention Order (Dkt. #51) and the motion to modify terms and conditions of release is DENIED.
22           DATED this 7TH day of September, 2007.
23
24                                                   /s/ Karen L. Strombom
                                                   Karen L. Strombom
25                                                 U.S. Magistrate Judge

26
27
28


     Order Denying Motion to Dismiss
     Page - 1
